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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

HENRY LEE BROWN, JR.,

        Plaintiff,
-vs-                                              CASE NO.: 3:14-CV-00298-HES-JRK

NCO FINANCIAL SYSTEMS, INC.,
a foreign corporation,

        Defendant
                              ____________/

                     STIPULATION OF DISMISSAL WITH PREJUDICE

       Under Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Henry Lee Brown, Jr.,

and Defendant, NCO Financial Systems, Inc., stipulate to a dismissal with prejudice of this

action. Each party will bear its own costs and expenses, including attorneys’ fees.

       Respectfully submitted this 5th day of January, 2015.


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*with express permission
